     Case: 23-2723   Document: 60          Filed: 03/05/2025   Pages: 29



                          No. 23-2723
                  Decided February 19, 2025
        Easterbrook, Rovner, and Jackson-Akiwumi, JJ.
                      ____________________

        IN THE UNITED STATES COURT OF APPEALS
               FOR THE SEVENTH CIRCUIT
                   ____________________

EIDO HUSSAM AL-NAHHAS, also known as Mohammad Al-Nahhas,
                          Plaintiff-Appellee,
                                    v.
777 PARTNERS LLC and TACTICAL MARKETING PARTNERS, LLC,
                   Defendants-Appellants.
                  ________________________

  On Appeal from the United States District Court for the Northern
      District of Illinois, Eastern Division, No. 1:22-cv-00750
                     Honorable John J. Tharp Jr.
                         ____________________

           PETITION FOR PANEL REHEARING OR
                  REHEARING EN BANC
                    ____________________

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Case: 23-2723   Document: 60     Filed: 03/05/2025   Pages: 29



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                               Appellants
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    23-2723
Appellate Court No: _______________

               Al-Nahhas v. 777 Partners LLC
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

   The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
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N/A for any information that is not applicable if this form is used.

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(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
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          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________
          EPGD Attorneys at I aw P.A. (entered 3/1112022· terminated 11 /29/2022)

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and
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                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                     None for any of the entities listed in (3)(i).
                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

           N/A
          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      s/ Patrick O. Daugherty
Attorney’s Signature: ________________________________________       March 5, 2025
                                                               Date: ________________________________________

                         Patrick O. Daugherty
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).         ✔ No _____
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          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A
          ________________________________________________________________________________________________________



                      s/ Charlene Koski
Attorney’s Signature: ________________________________________       March 5, 2025
                                                               Date: ________________________________________

                         Charlene Koski
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
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                ckoski@vnf.com
E-Mail Address: __________________________________________________________________________________________________
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                      s/ Scott P. Clair
Attorney’s Signature: ________________________________________       March 5, 2025
                                                               Date: ________________________________________

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         Case: 23-2723          Document: 60               Filed: 03/05/2025           Pages: 29



                                 TABLE OF CONTENTS


TABLE OF AUTHORITIES ....................................................................... v

INTRODUCTION AND RULE 40 STATEMENT ..................................... 1

BACKGROUND .......................................................................................... 3

REASONS FOR GRANTING THE PETITION ........................................ 7

       I.      Under Rivera, Plaintiff’s State Law Punitive Damages
               Claim Cannot Remain in Federal Court Without Its
               Jurisdictional “Hook.” .............................................................. 7

       II.     Illinois State Law Does Not Permit Plaintiff to Seek
               Additional Punitive Damages on a Fully Satisfied
               Claim......................................................................................... 9

       III.    The Panel’s Opinion Contains a Material Factual
               Error. ...................................................................................... 11

       IV.     Other Issues Not Decided ...................................................... 12

               A.      Portalatin Bars Consideration of Amounts
                       Allocated to Attorney’s Fees in This Case. .................. 12

               B.      No Further Declaratory or Injunctive Relief Is
                       Available to Plaintiff. .................................................... 15

CONCLUSION ......................................................................................... 17

CERTIFICATE OF COMPLIANCE ........................................................ 20

CERTIFICATE OF SERVICE.................................................................. 21




                                                    iv
          Case: 23-2723         Document: 60               Filed: 03/05/2025         Pages: 29



                               TABLE OF AUTHORITIES

                                                                                               Page(s)

Cases

Al-Nahhas v. 777 Partners LLC,
   No. 23-2723, slip op. (7th Cir. Feb. 19, 2025), ECF 56
   .................................................................................. 2, 3, 6, 7, 11, 12, 18

By-Prod Corp. v. Armen-Berry Co.,
  668 F.2d 956 (7th Cir. 1982) ................................................................ 11

Campbell-Ewald Co. v. Gomez,
  577 U.S. 153 (2016) ............................................................................... 2

Coinbase, Inc. v. Bielski,
  599 U.S. 736 (2023) ................................................................................ 6

E.F.L. v. Prim,
  986 F.3d 959 (7th Cir. 2021) .................................................................. 7

Hennessy v. Penril Datacomm Networks, Inc.,
  69 F.3d 1344 (7th Cir. 1995) ........................................................ 1, 9, 11

McGrew v. Heinold Commodities, Inc.,
  497 N.E.2d 424 (Ill. App. Ct. 1986) ............................................. 2, 9, 18

McKinney v. Ind. Mich. Power Co.,
  113 F.3d 770 (7th Cir. 1997) .................................................................. 7

Portalatin v. Blatt, Hasenmiller, Leibsker & Moore, LLC,
  900 F.3d 377 (7th Cir. 2018) .................................................... 12, 13, 14

Premium Plus Partners, L.P. v. Goldman, Sachs & Co.,
  648 F.3d 533 (7th Cir. 2011) ................................................................ 17

Rivera v. Allstate Insurance Co.,
  913 F.3d 603 (7th Cir. 2018) .................................................... 1, 7, 8, 18




                                                     v
          Case: 23-2723           Document: 60               Filed: 03/05/2025          Pages: 29



Statutes

815 ILCS 123/15-1-1 et seq. ..................................................................... 10

815 ILCS 123/15-5-15 ............................................................................... 10

815 ILCS 505/1 ..................................................................................... 7, 10

815 ILCS 505/10a ..................................................................................... 10

9 U.S.C. § 3 ................................................................................................. 5

9 U.S.C. § 4 ................................................................................................. 5

9 U.S.C. § 16(a) ........................................................................................... 5

15 U.S.C. § 1681a(y)(2) ............................................................................... 7

18 U.S.C. § 1964.......................................................................................... 5

28 U.S.C. § 1331.......................................................................................... 5

28 U.S.C. § 1332(d) ..................................................................................... 5

28 U.S.C. § 1337.......................................................................................... 5

28 U.S.C. § 1367.......................................................................................... 5

Other Authorities

Brian T. Fitzpatrick, An Empirical Study of Class Action
  Settlements and Their Fee Awards, 7 J. Empirical Legal
  Stud. 811 (2010) ............................................................................ 14, 15




                                                      vi
       Case: 23-2723   Document: 60       Filed: 03/05/2025   Pages: 29



           INTRODUCTION AND RULE 40 STATEMENT

     The Court should grant rehearing or rehearing en banc of the

panel’s opinion on mootness for three reasons. First, rehearing is

warranted because the panel’s opinion conflicts with this Court’s

decision in Rivera v. Allstate Insurance Co., 913 F.3d 603, 617-18 (7th

Cir. 2018). Fed. R. App. P. 40(b)(2)(A). In Rivera, this Court held that

when a plaintiff lacks standing to bring its federal claim, “there is no

original jurisdictional ‘hook’ to support an assertion of § 1367(a)

supplemental jurisdiction over” remaining state law claims. 913 F.3d at

617-18. Here, the Plaintiff has settled his federal claims for far more

than his actual damages and lacks standing to bring a lawsuit in

federal court. Yet—based on a single remaining state law claim for

punitive damages—the panel’s opinion held this appeal is not moot.

That holding directly conflicts with Rivera.

     Second, rehearing is warranted because the proceeding involves a

question of exceptional importance and is contrary to this Court’s prior

observation that Illinois law does not allow punitive damages when

compensatory damages are not available. See Hennessy v. Penril

Datacomm Networks, Inc., 69 F.3d 1344, 1351-52 (7th Cir. 1995)



                                      1
       Case: 23-2723   Document: 60       Filed: 03/05/2025   Pages: 29



(recognizing the “familiar tort mantra that ‘[p]unitive damages may not

be assessed in the absence of compensatory damages’” and citing Illinois

cases). Fed. R. App. P. 40(b)(2)(A) and (D); see also McGrew v. Heinold

Commodities, Inc., 497 N.E.2d 424, 429 (Ill. App. Ct. 1986) (“Punitive

damages can only be awarded when there is an award of compensatory

damages.”) (citations omitted).

     Because Plaintiff has already received a settlement from his

lender that is over 17 times more than he repaid, there can be no doubt

that any claims for compensatory damages under the remaining state

law claim have been fully satisfied. Without a plausible claim for

additional compensatory damages, punitive damages are unavailable.

     Third, rehearing is warranted because the panel’s opinion

contains a factual error that may have had a substantial impact on its

consideration of mootness. 1 Fed. R. App. P. 40(b)(1)(A). The panel’s

opinion asserts that Plaintiff has a loan that remains outstanding. Al-

Nahhas v. 777 Partners LLC, No. 23-2723, slip op. at 3 (7th Cir. Feb. 19,




1 While the Supreme Court held in Campbell-Ewald Co. v. Gomez that

“an unaccepted settlement offer or offer of judgment does not moot a
plaintiff’s case[,]” the Plaintiff here voluntarily accepted Rosebud
Lending’s settlement offer. 577 U.S. 153, 165 (2016) (emphasis added).

                                      2
       Case: 23-2723   Document: 60         Filed: 03/05/2025   Pages: 29



2025), ECF 56. However, the Settlement Agreement includes a broad

release stating that the parties “acknowledge and agree that the

disputes between them, whether asserted in this Action or not, are

settled and compromised pursuant to the terms of this Agreement.” CA

ECF 47-4 at page 2 of 8, ¶ 2. 2 There is no outstanding loan between that

could serve as a basis for finding that Plaintiff’s claims are not moot.

     This petition for rehearing and rehearing en banc is limited to the

question of mootness (Slip op. at 15-16) and does not challenge the

panel’s holdings regarding enforcement of the arbitration provisions of

Plaintiff’s loan agreements. Id. at 6-14.

                            BACKGROUND

     Between January 2020 and September 2021, Plaintiff took out

four loans from Rosebud Lending, an arm of the federally recognized

Rosebud Sioux Tribe of the Rosebud Indian Reservation in South

Dakota. DA005. In total, Plaintiff received $2,500.00 and promised to

repay the principal and $8,361.32 in interest. DA022; DA031; DA040;


2 Excerpts from the trial court record are cited here as “ECF [Docket

Number] at [Pincite].” Citations to the Required Short Appendix are to
“SA [Page].” Citations to the Separate Appendix submitted by
Defendants-Appellants are to “DA [Page].” Citations to the Court of
Appeals docket are cited as “CA ECF [Docket Number] at [Pincite].”

                                      3
       Case: 23-2723   Document: 60       Filed: 03/05/2025   Pages: 29



DA049. Plaintiff repaid the first three loans but defaulted on the fourth.

If Plaintiff had fully repaid all four loans, he would have paid a total of

$10,911.32. 3

     Plaintiff brought suit against Rosebud Lending, 777 Partners LLC

and Tactical Marketing Partners, LLC (the “777 Defendants”) who did

not loan money to Plaintiff, but, through non-party subsidiaries, had

contracts to provide business services and commercial financing to

Rosebud Lending. ECF 63 at 2. Plaintiff made three state law claims in

Counts I, II, and III. DA009-14. In Count IV, Plaintiff alleged a federal

Racketeer Influenced and Corrupt Organizations Act (“RICO”) claim.

DA014-15. Plaintiff’s Complaint does not seek punitive damages under

his RICO claim. Id. While this appeal was pending, Plaintiff entered

into a Settlement Agreement with Rosebud Lending. See CA ECF 47-4.

The Settlement Agreement was for an amount substantially greater

than Plaintiff’s maximum actual damages on each count combined.




3 The slightly lower amount actually repaid by Plaintiff is not in the

record. The 777 Defendants conservatively use this higher number to
calculate Plaintiff’s maximum damages.

                                      4
         Case: 23-2723   Document: 60       Filed: 03/05/2025   Pages: 29



        In his complaint, Plaintiff-Appellee Eido Hussam-Al-Nahhas

asserted that the District Court has jurisdiction over this lawsuit

pursuant to 28 U.S.C. § 1331, 18 U.S.C. § 1964, 28 U.S.C. § 1337, 28

U.S.C. § 1367, and 28 U.S.C. § 1332(d). DA001. 4 Plaintiff alleged

violations of RICO, 18 U.S.C. § 1964, and state consumer protection

laws.

        The 777 Defendants moved to compel arbitration under the

Federal Arbitration Act, 9 U.S.C. §§ 3, 4. The District Court asserted

subject matter jurisdiction under 28 U.S.C. § 1331 and exercised

supplemental jurisdiction over Plaintiff’s state law claims. SA015 n.7.

        In August 2023, the U.S. District Court for the Northern District

of Illinois entered a final order denying the motion of the 777

Defendants to compel arbitration. SA001-021. The 777 Defendants filed

a timely Notice of Appeal. ECF 126. This Court had jurisdiction under 9




4Plaintiff has alleged that class action diversity jurisdiction under 28
U.S.C. § 1332(d) “may” exist (DA001), 28 U.S.C. § 1332(d), but that did
not serve as a basis for the District Court’s exercise of jurisdiction, and
Plaintiff failed to sufficiently allege diversity jurisdiction in his
Complaint. For example, he has not alleged an amount in controversy.
See DA001-16.

                                        5
       Case: 23-2723   Document: 60       Filed: 03/05/2025   Pages: 29



U.S.C. § 16(a) to hear the interlocutory appeal of the arbitration ruling.

See Coinbase, Inc. v. Bielski, 599 U.S. 736, 740 (2023).

     While this appeal was pending, Plaintiff entered into the

Settlement Agreement with Rosebud Lending for an amount over 17

times greater than the amount Plaintiff agreed to repay in his loan

agreements. Plaintiff and Rosebud Lending filed a motion seeking to

dismiss Plaintiff’s claims against Rosebud Lending on January 17,

2024. The 777 Defendants promptly moved to vacate the judgment and

remand with instructions to dismiss as moot and obtained leave to file

the Settlement Agreement under seal with the Court of Appeals. See CA

ECF 47-4.

     Before the panel, Plaintiff asserted, and the panel’s opinion

agreed, that even though any claim for actual damages might be

satisfied by his settlement with his lender, his case is not moot because

he has a single remaining claim for punitive damages under his state

law claim in Count III. CA ECF 43 at 9; Slip op. at 15.




                                      6
       Case: 23-2723   Document: 60       Filed: 03/05/2025   Pages: 29



            REASONS FOR GRANTING THE PETITION

I.   Under Rivera, Plaintiff’s State Law Punitive Damages
     Claim Cannot Remain in Federal Court Without Its
     Jurisdictional “Hook.”

     The panel’s opinion held that Plaintiff’s claim for punitive

damages in Count III under the Illinois Consumer Fraud Act (815 ILCS

505/1 et seq.) saves his entire case from mootness. Slip op. at 15. But a

single state law claim for punitive damages cannot keep Plaintiff’s suit

in federal court. 5 Under Rivera, Plaintiff’s settlement of his federal

RICO claim means he has lost his jurisdictional “hook” supporting

supplemental jurisdiction over his remaining state law claims. He

therefore lacks standing in federal court and this case is moot. Rivera,

913 F.3d at 617-18.

     In Rivera this Court considered a suit that included a state law

defamation claim and a federal claim under the federal Fair Credit



5 Although this case did not become moot until after this appeal was
pending, Courts have a “constitutional obligation to resolve the question
of mootness[.]” E.F.L. v. Prim, 986 F.3d 959, 962-63 (7th Cir. 2021)
(citations omitted). “Because this mootness rule is jurisdictional, it
applies to cases that once presented a live controversy before the trial
court but that subsequently were mooted by some event occurring while
the case was on appeal.” McKinney v. Ind. Mich. Power Co., 113 F.3d
770, 772 (7th Cir. 1997) (citation omitted).


                                      7
       Case: 23-2723   Document: 60       Filed: 03/05/2025   Pages: 29



Reporting Act (15 U.S.C. § 1681a(y)(2)). Id. at 606. On rehearing, the

Court noted that the district court had rested its jurisdiction “solely on

federal-question jurisdiction” and so “the court’s supplemental

jurisdiction under § 1367(a) to adjudicate the state-law defamation

claim evaporates if the claim on which federal jurisdiction rests is

dismissed on jurisdictional grounds.” Id. at 612. After finding that the

plaintiffs lacked standing to assert the federal claim, the Court was

required to dismiss the federal count and dismiss the remaining state

law claims without prejudice. Id. at 618 (citing 16 James Wm. Moore,

Moore’s Federal Practice § 106.66[1] (Daniel R. Coquillette et al. eds.,

3d ed. 2018)). The Court ordered that the judgment be vacated and the

case be remanded with instructions to dismiss the entire action for lack

of subject-matter jurisdiction. Id. (quoting Fed. R. Civ. P. 12(h)(3) (“If

the court determines at any time that it lacks subject-matter

jurisdiction, the court must dismiss the action.”)).

     In Count IV of the case now before the Court, Plaintiff sought

treble damages under RICO against the 777 Defendants based on the

same facts and loan transactions supporting his other three state law

claims. DA015. However, Plaintiff does not seek punitive damages in



                                      8
       Case: 23-2723   Document: 60       Filed: 03/05/2025   Pages: 29



his RICO claim. Accordingly, Plaintiff’s maximum recovery for his

alleged RICO violations would be three times the total amount he paid

Rosebud Lending, or no more than $32,733.96. Plaintiff’s settlement

with Rosebud Lending was for more than five times that amount.

Because Plaintiff can have no further recovery on his RICO claim, his

claim is moot. Without a RICO claim, Plaintiff has no federal “hook”

upon which to rest supplemental jurisdiction over his state law claims.

II.   Illinois State Law Does Not Permit Plaintiff to Seek
      Additional Punitive Damages on a Fully Satisfied Claim.

      In reaching its conclusion that Plaintiff has standing, in addition

to conflicting with Rivera, the panel’s opinion disregarded settled

Illinois law disallowing the very relief on which the panel’s opinion rests

and this Court’s prior observations that Illinois law does not allow

punitive damages when compensatory damages are not available.

Hennessy, 69 F.3d at 1352. This misapplication of a long-settled state

law rule raises an issue of exceptional importance warranting

rehearing.

      Plaintiff’s claim for punitive damages in Count III is based on

Illinois law, which does not permit an award of punitive damages in the

absence of compensatory damages. McGrew, 497 N.E.2d at 429


                                      9
       Case: 23-2723   Document: 60        Filed: 03/05/2025   Pages: 29



(“Punitive damages can only be awarded when there is an award of

compensatory damages.”) (citations omitted).

     Here, in Count III, Plaintiff sought damages for alleged violations

of the Illinois Predatory Loan Prevention Act (815 ILCS 123/15-1-1 et

seq.) and the Illinois Consumer Fraud Act (815 ILCS 505/1 et seq.).

DA012. The first statute provides that no one may “retain any principal,

fee, interest, or charges related to the loan.” 815 ILCS 123/15-5-15.

Plaintiff repaid no more than $10,911.32. The second statute cited in

Count III permits actions “for actual economic damages.” 815 ILCS

505/10a. Plaintiff’s actual economic damages cannot exceed the amount

of interest he repaid, which is no more than $8,361.32. Plaintiff’s

settlement provided him 17 times more than either measure of

compensatory damages.

     Since Plaintiff is no longer entitled to compensatory damages,

Illinois law, expressed in McGrew and other cases, prohibits him from

proceeding to trial on fully satisfied claims in the hopes of obtaining

even more in punitive damages from the remaining Defendants. This

Court has recognized this feature of Illinois law, noting that a “host of

cases” support the principle that punitive damages may not be assessed



                                      10
       Case: 23-2723   Document: 60        Filed: 03/05/2025   Pages: 29



in the absence of compensatory damages. Hennessy, 69 F.3d at 1351-52

(citing McGrew; Florsheim v. Travelers Indem. Co. of Ill., 393 N.E.2d

1223 (Ill. App. Ct. 1979); Tonchen v. All–Steel Equip. Inc., 300 N.E.2d

616 (Ill. App. Ct. 1973), cert. denied, 71 Ill.2d 518; and Kemner v.

Monsanto Co., 576 N.E.2d 1146 (Ill. App. Ct. 1991), cert. denied, 584

N.E.2d 130). While this Court noted a possible exception for the tort of

false imprisonment, this exception has no application to the loan

transactions at issue here. By-Prod Corp. v. Armen-Berry Co., 668 F.2d

956, 961 (7th Cir. 1982).

III. The Panel’s Opinion Contains a Material Factual Error.

     The panel’s opinion contains a material factual error that may

have had a substantial impact on its consideration of mootness. Fed. R.

App. P. 40(b)(1)(A). The panel’s opinion asserts that Plaintiff has a loan

that remains outstanding. Slip op. at 3. However, the Settlement

Agreement includes a broad release stating that the parties

“acknowledge and agree that the disputes between them, whether

asserted in this Action or not, are settled and compromised pursuant to

the terms of this Agreement.” CA ECF 47-4 at page 2 of 8, ¶ 2. There is




                                      11
       Case: 23-2723   Document: 60        Filed: 03/05/2025   Pages: 29



no outstanding loan between Plaintiff and Rosebud Lending that could

serve as a basis for finding that Plaintiff’s claims are not moot.

IV.   Other Issues Not Decided

      In light of its holding that the state law punitive damages claim

was sufficient to sustain federal jurisdiction over the case, the panel’s

opinion declined to address “the parties’ arguments about the role that

attorneys’ fees play in the single-recovery rule or whether Al-Nahhas’s

request for preliminary injunction prevents the case from becoming

moot.” Slip op. at 16. In the event the Court reaches these issues on

rehearing, each issue is addressed briefly below.

      A.   Portalatin Bars Consideration of Amounts Allocated
           to Attorney’s Fees in This Case.

      Plaintiff argued that some portion of his award was attributed to

attorney’s fees. But this Court’s decision in Portalatin v. Blatt,

Hasenmiller, Leibsker & Moore, LLC makes clear that the relevant

number is what the Plaintiff receives, not how much the Plaintiff

receives after accounting for attorney’s fees. 900 F.3d 377, 381 (7th Cir.

2018). In that case, the plaintiff received $5,000 and each side agreed to

“bears its own costs and attorney’s fees.” Id. In its analysis of mootness,

the court referred to the full settlement amount of $5,000 without


                                      12
       Case: 23-2723   Document: 60        Filed: 03/05/2025   Pages: 29



reducing that amount to account for the attorney’s fees the plaintiff had

agreed to bear. Id. at 384.

     Even allowing a one-third attorney fee, Plaintiff still received

more than $100,000. Plaintiff cannot in good faith claim to have

apportioned more than one-third of his settlement with Rosebud

Lending to attorney’s fees given that Plaintiff’s complaint included a

“Notice of Lien and Assignment” stating that Plaintiff’s counsel

asserted a right to one-third of Plaintiff’s recovery. DA018. Allocations

made in settlement agreements must be made in good faith to be

considered by the courts. Portalatin, 900 F.3d at 384.

     Like Portalatin, Plaintiff’s Settlement Agreement provides that

“[e]ach party shall bear their own costs and attorneys’ fees.” Cf.

Portalatin, 900 F.3d at 382 with CA ECF 47-4, ¶ 12. Like Portalatin,

Plaintiff’s alleged harm is indivisible between the two Defendants.

Portalatin, 900 F.3d at 384. Like Portalatin, Plaintiff’s claims against

Rosebud Lending and the 777 Defendants stem from the same conduct.

Cf. Portalatin, 900 F.3d at 384 with DA003, DA014. And, like

Portalatin, Plaintiff’s Settlement Agreement resolves all claims arising

out of the facts alleged in or capable of being alleged in this federal



                                      13
       Case: 23-2723   Document: 60        Filed: 03/05/2025   Pages: 29



action. Cf. Portalatin, 900 F.3d at 382 with CA ECF 47-4, ¶ B. Using

settlement proceeds to pay counsel does not defeat mootness.

     Although the allocation is irrelevant to this Court’s analysis,

Plaintiff’s purported allocation of 95 percent of the settlement proceeds

to counsel also suggests bad faith. Plaintiff and his counsel agreed at

the outset of the litigation that Plaintiff’s counsel would receive a one-

third attorney fee and filed a statement with the District Court

asserting that Plaintiff’s counsel claimed “a lien upon any recovery

herein for 1/3 or such amount as a court awards.” DA018. Plaintiff now

asserts the “or such amount as a court awards” means that he could

allocate more than one-third of the settlement proceeds to counsel. CA

ECF 43 at 12. However, there has been no court award here, only a

settlement, so there is no good-faith basis for allocating any more than

one-third of the settlement proceeds to Plaintiff’s lawyers.

     The 777 Defendants are also unaware of any case involving a 95-

percent attorney-fee allocation. Empirical research previously cited by

this Court indicates that the average attorney’s fee in class settlements

is about 25 percent and, even in settlements involving smaller dollar

amounts, the average is still closer to 30 percent. See Brian T.



                                      14
       Case: 23-2723   Document: 60        Filed: 03/05/2025   Pages: 29



Fitzpatrick, An Empirical Study of Class Action Settlements and Their

Fee Awards, 7 J. Empirical Legal Stud. 811, 837-40 (2010) (cited in In re

Stericycle Sec. Litig., 35 F.4th 555, 561-62 (7th Cir. 2022) and

Silverman v. Motorola Sols., Inc., 739 F.3d 956, 958 (7th Cir. 2013)).

Even the high-end outlier in that research was less than 50 percent. Id.

at 838 (Fig. 6).

      B.    No Further Declaratory or Injunctive Relief Is
            Available to Plaintiff.

      Plaintiff’s settlement mooted any claims against the 777

Defendants for equitable relief because the 777 Defendants have no

authority to collect on Plaintiff’s fourth loan issued by Rosebud

Lending. Plaintiff’s obligations to repay that loan were ended by the

Settlement Agreement. Plaintiff entered into four loan agreements with

Rosebud Lending. DA005. Plaintiff repaid the first three loans in full

and repaid most of the fourth loan. Plaintiff sued Rosebud Lending and

eventually entered into the Settlement Agreement which includes a

broad release stating that the parties “acknowledge and agree that the

disputes between them, whether asserted in this Action or not, are

settled and compromised pursuant to the terms of this Agreement.” CA

ECF 47-4 at page 2 of 8, ¶ 2.


                                      15
       Case: 23-2723   Document: 60        Filed: 03/05/2025   Pages: 29



     Plaintiff has no reasonable basis to fear “further collection

efforts[.]” CA ECF 43 at 5. Plaintiff repaid his first three loans and only

the fourth loan from Rosebud Lending had any balance outstanding at

the start of this litigation. DA005. As a result of the Settlement

Agreement, all claims between Rosebud and Plaintiff concerning

Plaintiff’s loans are resolved and there are no remaining grounds for

any party to seek to collect more from Plaintiff. For that reason and

because Plaintiff never entered into a loan agreement with the 777

Defendants, the 777 Defendants have no right to attempt to collect on

the fourth and final loan between Plaintiff and Rosebud Lending. To the

extent Plaintiff has alleged that the 777 Defendants have assisted

Rosebud Lending with past collection efforts, such collections occurred

only at the direction of Rosebud Lending as the lender and owner of the

debt. Since Plaintiff has settled his claims against Rosebud Lending,

including any claims Rosebud Lending might have had related to the

fourth loan, there is no possibility of future collections against the

Plaintiff related to any of the loans at issue in this litigation and




                                      16
       Case: 23-2723    Document: 60        Filed: 03/05/2025   Pages: 29



therefore no declaratory or injunctive relief that could benefit the

Plaintiff individually. 6

      Plaintiff attempts to bolster his claim for declaratory and

injunctive relief by claiming such relief would have a potentially

beneficial effect on the members of the putative, but uncertified, class.

CA ECF 43 at 6. This argument gives away the game. While other

members of the putative class may have the ability to seek further

relief, Plaintiff does not. Deprived of his personal stake in the outcome

of the litigation by his voluntary settlement with Rosebud Lending,

Plaintiff may not continue to serve as a figurehead class representative.

“It takes a representative with a live claim to carry on with a class

action.” Premium Plus Partners, L.P. v. Goldman, Sachs & Co., 648

F.3d 533, 538 (7th Cir. 2011) (citations omitted).

                              CONCLUSION

      The opinion conflicts with Rivera’s holding that when a plaintiff

lacks standing to bring its federal claim, “there is no original




6 Plaintiff cannot credibly claim to need equitable relief regarding new

loans he might obtain from Rosebud Lending in the future because
Rosebud Lending ceased offering new loans at the end of 2023. CA ECF
30-2, ¶ 8.

                                       17
         Case: 23-2723   Document: 60        Filed: 03/05/2025   Pages: 29



jurisdictional ‘hook’ to support an assertion of § 1367(a) supplemental

jurisdiction over” remaining state law claims. Rivera, 913 F.3d at 617-

18. Plaintiff’s RICO claim has been fully satisfied by his Settlement

Agreement with Rosebud Lending. If the panel’s opinion is correct that

Plaintiff’s state law claim for punitive damages nonetheless survives,

that claim should be tested in state court now that there is no federal

“hook” remaining.

        The opinion also conflicts with well-established Illinois state law

precedent that prohibit an award of punitive damages in the absence of

compensatory damages. McGrew, 497 N.E.2d at 429. Having already

recovered substantially more than his maximum compensatory

damages under his state law claim, Plaintiff may not recover additional

punitive damages under state law. Therefore, Plaintiff’s case is fully

moot.

        Finally, the opinion contains a material error of fact that should

be corrected.

        For these reasons, the 777 Defendants respectfully petition for

rehearing and rehearing en banc on the mootness issue decided in the

panel’s opinion (Slip op. at 15-16).



                                        18
      Case: 23-2723    Document: 60        Filed: 03/05/2025   Pages: 29



                                      Respectfully submitted,

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Dated: March 5, 2025




                                      19
       Case: 23-2723   Document: 60        Filed: 03/05/2025   Pages: 29



                  CERTIFICATE OF COMPLIANCE

     Pursuant to Federal Rules of Appellate Procedure 32(a) and 32(c),

and Circuit Rule 32, I hereby certify that the foregoing Petition for

Panel Rehearing or Rehearing En Banc of Defendants-Appellants has

been prepared in a proportionally spaces typeface (using Microsoft Word

365, in 14-point Century Schoolbook font), contains 3,526 words total,

excluding items exempted by Federal Rule of Appellate Procedure 32(f).

                                  Respectfully submitted,

                                  /s/ Patrick O. Daugherty
                                  Patrick O. Daugherty

Dated: March 5, 2025




                                      20
      Case: 23-2723    Document: 60        Filed: 03/05/2025   Pages: 29



                      CERTIFICATE OF SERVICE

     I hereby certify that on March 5, 2025, I electronically filed the

Petition for Panel Rehearing or Rehearing En Banc of Defendants-

Appellants with the Clerk of the Court for the United States Court of

Appeals for the Seventh Circuit by using the CM/ECF system. I certify

that all participants in the case are registered CM/ECF users and that

service will be accomplished by the CM/ECF system.


                                  /s/ Patrick O. Daugherty
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Dated: March 5, 2025




                                      21
